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                              Exhibit M
United States of America ex rel. Ven-a-Care of the Florida Keys, Inc. v. Dey, Inc., et al.,
                           Civil Action No. 05-11084-PBS

        Exhibit to Plaintiff’s Memorandum In Support of United States’ Motion
             In Limine Regarding Testimony of Raymond C. Winter and
                          Sequencing of Deposition Testimony
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